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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                           HUNTINGTON DIVISION


GENBIOPRO, INC.,
                     Plaintiff,

               v.
                                                 Civil Action No.: 3:23-cv-00058
MARK A. SORSAIA, in his official capacity           (Hon. Robert C. Chambers)
as Prosecuting Attorney of Putnam County
AND PATRICK MORRISEY, in his official
capacity as Attorney General of West Virginia,
                     Defendants.



        PLAINTIFF’S OPPOSITION TO DEFENDANT MARK A. SORSAIA’S
                          MOTION TO DISMISS
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                            INTRODUCTION AND BACKGROUND

       GenBioPro is one of two companies in the United States licensed to sell mifepristone, a

medication the U.S. Food and Drug Administration (“FDA”) approved and indicated for use in

medication abortion. Medication abortion, which FDA approved to terminate a pregnancy up to

70 days’ gestation, has grown as a share of overall elective abortions in recent years. Unlike

procedural abortion (sometimes referred to as “surgical abortion”), medication abortion allows

patients to terminate a pregnancy at home and provides other important clinical and care

benefits. Medication abortion is safe, but mifepristone is contraindicated for certain patients,

such those with an ectopic pregnancy.

       Congress enacted the Food and Drug Administration Amendments Act of 2007

(“FDAAA”), Pub. L. No. 110-85, 121 Stat. 823, authorizing FDA to regulate the distribution,

prescribing, and disposal — not just approval — of certain drugs under a Risk Evaluation and

Mitigation Strategy (“REMS”). See 21 U.S.C. § 355-1(a). Congress specified that the 16 drugs

previously approved with “elements to assure safe use,” including mifepristone, would be

“deemed to have in effect an approved [REMS]” upon the Act’s passage. FDAAA § 909(b)(1),

121 Stat. 950-51, reprinted at 21 U.S.C. § 331 note.1 Congress required that any elements to

assure safe use “[p]rovid[e] safe access for patients” to the drugs in question. Id. § 505-1(f ), 121

Stat. 926, 930 (codified at 21 U.S.C. § 355-1(f )). It further mandated that any restrictions on the

drug, such as limits on how it can be prescribed or dispensed, “not be unduly burdensome on

patient access to the drug” and required that the restrictions “minimize the burden on the health

care delivery system.” Id. § 505-1(f )(2)(C)-(D), 121 Stat. 930 (codified at 21 U.S.C. § 355-




       1
           All references to “mifepristone” are to Mifepristone Tablets, 200 mg.
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1(f )(2)(C)-(D)). These provisions reflect a congressional mandate that FDA strike a balance

between safety and patient access.

       Since Congress enacted the FDAAA, FDA has continued to regulate mifepristone subject

to a REMS with elements to assure safe use. The most recent mifepristone REMS FDA issued in

2023 requires healthcare providers to become specially certified by mifepristone’s manufacturers

to prescribe mifepristone, and to agree to follow certain guidelines in prescribing the drug to

patients. U.S. Food & Drug Admin., Risk Evaluation and Mitigation Strategy (REMS) Single

Shared System for Mifepristone 200mg at 1 (Jan. 2023) (“2023 REMS Document”),

https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_01_03_

REMS_Full.pdf. The REMS also requires pharmacies dispensing mifepristone to become

specially certified and agree to comply with several restrictions on dispensing. Id. at 2-3.

       Contravening Congress’s mandate, West Virginia enacted the Unborn Child Protection

Act (the “Criminal Abortion Ban” or the “Ban”)2 to ban abortion, including medication abortion,

in almost all circumstances for which mifepristone is indicated. The Ban imposes burdens on

access to the drug and on the healthcare delivery system, including criminal penalties. The Ban

is preempted because it conflicts with the congressionally mandated determination by FDA to

ensure safe access to the drug. GenBioPro sued Defendant Mark A. Sorsaia, the state prosecutor

charged with enforcing the Ban in Putnam County, where the statute constricts GenBioPro’s pool

of buyers. GenBioPro seeks, inter alia, a declaration that the Ban is preempted and violates the

Commerce Clause, and an order enjoining Sorsaia from enforcing it.



       2
         The Criminal Abortion Ban refers to West Virginia Code §§ 16-2R-1 et seq. and 61-2-8.
The State’s “Restrictions” on abortion refer to West Virginia Code §§ 16-2I-2 (requiring a
waiting period and counseling before an abortion procedure), 30-3-13a(g)(5) (prohibiting
providers from prescribing mifepristone via telemedicine), and 30-1-26(b)(9) (providing for a
rule banning prescribing mifepristone via telemedicine).
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       Sorsaia’s motion focuses on whether he is a proper defendant, couching the argument in

terms of GenBioPro’s standing to sue him and the plausibility of its claims against him. His

arguments fail because, as a state official charged with enforcing the Ban (and all violations of

the criminal code in Putman County), Sorsaia is the proper target of an action to enjoin the Ban.

Indeed, Sorsaia publicly announced his intention to enforce the State’s abortion law.

       GenBioPro’s injuries, which include economic harm and the threat of enforcement, are

traceable to Sorsaia for the same reason: he is responsible for enforcing the statute and has

indicated his intent to do so. If this Court enjoins him from enforcing the Ban, providers eligible

to prescribe mifepristone and pharmacies certified to provide it could do so in Putnam County,

redressing GenBioPro’s injury by enabling it to sell its product. See Uzuegbunam v. Preczewski,

141 S. Ct. 792, 801 (2021) (“[T]he ability ‘to effectuate a partial remedy’ satisfies the

redressability requirement.”).

                                   STANDARD OF REVIEW

       When a defendant challenges a plaintiff ’s standing at the motion-to-dismiss stage for

failing to “allege facts upon which standing can be based,” under Federal Rule of Civil

Procedure 12(b)(1), as Sorsaia does, the “plaintiff is afforded the same procedural protection that

exists on a motion to dismiss.” Wikimedia Found. v. Nat’l Sec. Agency, 857 F.3d 193, 208 (4th

Cir. 2017) (brackets and internal quotation marks omitted). The Court “accept[s] as true all well-

pleaded facts in [the] complaint and construe[s] them in the light most favorable to the plaintiff.”

Id.; see Tyree v. United States, 814 F. App’x 762, 766 (4th Cir. 2020) (per curiam).

       A Rule 12(b)(6) motion tests the legal sufficiency of a complaint. Giarratano v.

Johnson, 521 F.3d 298, 302 (4th Cir. 2008). A complaint need only contain a “short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).



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This standard “does not require ‘detailed factual allegations.’ ” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). The court views the

“well-pled facts . . . in the light most favorable to the plaintiff.” Brockington v. Boykins, 637

F.3d 503, 505 (4th Cir. 2011). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678.

                                           ARGUMENT

I.      GENBIOPRO HAS STANDING TO SEEK RELIEF AGAINST SORSAIA, WHO
        IS CHARGED WITH AND HAS CREDIBLY THREATENED ENFORCEMENT

        GenBioPro has individual and third-party standing. To establish standing, “a plaintiff

must show (1) an ‘injury in fact,’ (2) a sufficient ‘causal connection between the injury and the

conduct complained of,’ and (3) a ‘likel[ihood]’ that the injury ‘will be redressed by a favorable

decision.’ ” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157-58 (2014) (quoting Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)).

        A.     GenBioPro Suffered An Injury In Fact

        The requirement of a “concrete and particularized” injury in fact “helps to ensure that the

plaintiff has a ‘personal stake in the outcome of the controversy.’ ” Id. at 158 (quoting Warth v.

Seldin, 422 U.S. 490, 498 (1975)). GenBioPro meets this requirement for two reasons, each of

which independently supports standing. First, GenBioPro suffered an economic injury: lost

sales and constriction of its market across the State, including in Putnam County. Second,

Sorsaia credibly threatened to enforce the Ban.

               1.      GenBioPro’s Financial Injury

        “[F]inancial harm is a classic and paradigmatic form of injury in fact.” Md. Shall Issue,

Inc. v. Hogan, 971 F.3d 199, 210 (4th Cir. 2020) (quoting Air Evac EMS, Inc. v. Cheatham, 910


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F.3d 751, 760 (4th Cir. 2018)). In Maryland Shall Issue, a firearms dealer (among others) sued

to enjoin Maryland’s handgun licensing law, which prevented the store from selling guns to

customers without a handgun license. The Fourth Circuit found that the store had an economic

injury in the form of “lost business opportunities.” Id. at 211 (citing Craig v. Boren, 429 U.S.

190, 194 (1976)). It held that “the operation of a challenged statute that results in the

constriction of a vendor’s buyers’ market plainly inflicts an injury in fact sufficient to guarantee

it concrete adverseness.” Id. (alterations and internal quotation marks omitted) (citing Craig,

429 U.S. at 194); see also Ezell v. City of Chicago, 651 F.3d 684, 696 (7th Cir. 2011)

(“[S]upplier of firing-range facilities is harmed by the firing-range ban.”).

       GenBioPro’s economic injury meets this test. GenBioPro alleges that West Virginia’s

Ban “severely constricted the market for mifepristone statewide,” Compl. ¶ 11, and that its

Restrictions on abortion “restricted the provision of mifepristone.” Id. ¶ 12. GenBioPro’s sales

of generic mifepristone and its companion drug in the FDA-approved regimen for medication

abortion are its sole source of revenue. Id. ¶ 23. GenBioPro alleges that “West Virginia’s severe

abortion Restrictions and Criminal Abortion Ban make it impossible for GenBioPro to promote

and market its product in West Virginia as it does in other [S]tates.” Id. ¶ 77. By contrast,

nationally, the market for mifepristone is strong and sales have grown over time, even as the total

number of abortions has declined. Id. ¶ 76.

       The constriction of GenBioPro’s “buyers’ market,” extends throughout West Virginia.

Md. Shall Issue, 971 F.3d at 211. Walgreens, which operates stores in Putnam County and stated

publicly in January that it intended to sell mifepristone, Compl. ¶ 78, reversed course after West

Virginia and other States threatened legal action if Walgreens began distributing mifepristone.

See Alice Miranda Ollstein, Walgreens Won’t Distribute Abortion Pills in States Where GOP



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AGs Object, Politico (Mar. 2, 2023), https://www.politico.com/news/2023/03/02/walgreens-

abortion-pills-00085325; see also Letter from Att’ys Gen., to Danielle Gray, Exec. Vice

President, Walgreens Boots All., Inc. (Feb. 1, 2023), https://ago.mo.gov/docs/default-

source/press-releases/2023-02-01-fda-rule---walgreens-letter-danielle-gray.pdf?sfvrsn

=ff1e6652_2. GenBioPro would be able to provide mifepristone to more patients, including in

Putnam County, if the Ban did not prevent such sales. Compl. ¶ 78. GenBioPro likewise alleges

that the Ban prevents HoneyBee Health, which ships prescription drugs nationwide, and CVS

from providing mifepristone to patients in West Virginia, including in Putnam County. Id. The

Ban and Restrictions thereby “cause[ ] significant, ongoing economic injury to GenBioPro in the

form of lost sales, customers, and revenue.” Id. ¶ 79. These allegations state an injury in fact.

See Md. Shall Issue, 971 F.3d at 212 (“[A] loss of even a small amount of money is ordinarily an

‘injury.’ ”) (quoting Czyzewski v. Jevic Holding Corp., 580 U.S. 451, 464 (2017)).

               2.      GenBioPro Suffers A Credible Threat Of Future Enforcement

       Even if GenBioPro did not allege economic harm, it would still have a concrete injury

because it “alleges ‘an intention to engage in a course of conduct arguably affected with a

constitutional interest, but proscribed by a statute, and there exists a credible threat of

prosecution thereunder.’ ” Susan B. Anthony, 573 U.S. at 159 (quoting Babbitt v. United Farm

Workers Nat’l Union, 442 U.S. 289, 298 (1979)).

       GenBioPro alleges its intent “to engage in a course of conduct arguably affected with a

constitutional interest, but proscribed by a statute.” Id. It seeks to “promote and market its

product in West Virginia as it does in other states.” Compl. ¶ 77. GenBioPro intends to certify

healthcare providers in West Virginia to prescribe mifepristone and certify pharmacies to

dispense mifepristone in West Virginia as required by the 2023 mifepristone REMS. See Id.

¶¶ 66-67, 77-78, 80; see also 2023 REMS Document at 1. But for the Ban, these providers and
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pharmacies would prescribe and dispense GenBioPro’s product. The Ban “severely constricts

GenBioPro’s pool of potential customers,” including healthcare providers and certified

pharmacies that would purchase mifepristone distributed by GenBioPro, and impermissibly

constrains GenBioPro’s ability to market its product in West Virginia. Compl. ¶ 79. “Providing

mifepristone through” CVS, Walgreens, and other pharmacies located in Putnam County and

through mail-order pharmacies that would dispense drugs to patients residing in Putnam County

in the absence of the laws being challenged “would enable GenBioPro to serve more patients

with its product” by selling mifepristone to them. Id. ¶ 78.

       GenBioPro’s intended course of conduct is “affected with a constitutional interest” and

“proscribed by a statute.” Susan B. Anthony, 573 U.S. at 159. The Ban violates the Supremacy

Clause, because it conflicts with Congress’s determination that mifepristone should be subject to

a REMS, 21 U.S.C. § 355-1. Compl. ¶¶ 94-99. The Ban violates the Commerce Clause by

impeding the free flow of trade in the national common market and creating an undue burden on

access to mifepristone, an article of commerce subject to national uniform regulation. Id.

¶¶ 103-104, 106-109.

       Moreover, “the threat of future enforcement of the [challenged] statute is substantial.”

Susan B. Anthony, 573 U.S. at 164. Sorsaia stated publicly that, “[a]s prosecutors we have a

clear obligation to enforce the laws of our state. I believe if abortion is illegal then no

responsible medical provider will be doing them.” Compl. ¶ 24 & n.7. There is no reason to

doubt Sorsaia’s intention to enforce the new Ban. See Virginia v. Am. Booksellers Ass’n, Inc.,

484 U.S. 383, 393 (1988) (“We are not troubled by the pre-enforcement nature of this suit. The

State has not suggested that the newly enacted law will not be enforced, and we see no reason to

assume otherwise. We conclude that plaintiffs have alleged an actual and well-founded fear that



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the law will be enforced against them.”); Mobil Oil Corp. v. Att’y Gen. of Va., 940 F.2d 73, 76

(4th Cir. 1991) (“In the instant case, the amendment is newly enacted. It would be unreasonable

to assume that the General Assembly adopted the . . . amendment without intending that it be

enforced.”). Indeed, at least one pharmacy through which GenBioPro seeks to provide

mifepristone, Walgreens, see Compl. ¶ 78, has taken seriously the threat of enforcement of West

Virginia’s ban, and has publicly reversed course on its intent to offer the product in certain States

in response to threatened enforcement. See supra pp. 5-6.

        Nor did Sorsaia “disavow[ ] enforcement” of the Ban. Susan B. Anthony, 573 U.S. at

165; see also Holder v. Humanitarian L. Project, 561 U.S. 1, 15 (2010) (claims justiciable where

government had declined to disavow future prosecution); 303 Creative LLC v. Elenis, 6 F.4th

1160, 1174, 1188 (10th Cir. 2021) (“Colorado declines to disavow future enforcement” of law

prohibiting statements “indicating that an individual’s patronage or presence at a . . . public

accommodation [wa]s unwelcome . . . because of [protected status].”), cert. granted on other

grounds, 142 S. Ct. 1106 (2022) (internal quotation marks omitted); cf. Md. Shall Issue, 971 F.3d

at 218 (individuals lacked standing where State disavowed, and had not threatened,

enforcement).

        B.      GenBioPro’s Injuries Are Fairly Traceable To Sorsaia

        An injury is traceable if “ ‘there [is] a causal connection between the injury and the

conduct complained of ’ by the plaintiff.” Md. Shall Issue, 971 F.3d at 212 (quoting Lujan, 504

U.S. at 560). “[T]he question is whether [the plaintiff ] can demonstrate that the [challenged

statute] is ‘fairly traceable’ to its injury, though it does not have to be ‘the sole or even

immediate cause of th[at] injury.’ ” Id. (quoting Sierra Club v. U.S. Dep’t of Interior, 899 F.3d

260, 283-84 (4th Cir. 2018)); see Libertarian Party v. Judd, 718 F.3d 308, 316 (4th Cir. 2013)

(causation satisfied when challenged requirement “is at least in part responsible for frustrating”
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plaintiff ’s rights). “Traceability” requires the Court to consider “the effect of the state’s chosen

course of action . . . as an integrated whole.” Air Evac, 910 F.3d at 760.

        That requirement is met here. West Virginia’s Ban, on its face, undoubtedly constrains

GenBioPro’s ability to sell and promote its product for purchase and use throughout West

Virginia and limits its potential customer base. See Compl. ¶¶ 77-79. Those allegations suffice

under Maryland Shall Issue, where the licensing requirement for handgun sales “[o]n its face . . .

undoubtedly constrain[ed] [the plaintiff ’s] ability to sell handguns and limit[ed] its potential

customer base.” 971 F.3d at 212. GenBioPro alleges it “lost sales, customers, and revenue” as a

result of the statute. Compl. ¶ 79. “[W]hen a ‘challenged provision[ ] . . . inhibits [a vendor’s]

ability to’ conduct its business, ‘the alleged injury is . . . traceable to the’ provision at issue.”

Md. Shall Issue, 971 F.3d at 213 (alterations in original) (quoting Air Evac, 910 F.3d at 760); see

also Primera Iglesia Bautista Hispana of Boca Raton, Inc. v. Broward Cnty., 450 F.3d 1295,

1304 (11th Cir. 2006) (traceability satisfied when challenged law “directly and expressly limits”

the plaintiff ’s conduct).

        An injury caused by a statute is fairly traceable to a state official charged with enforcing

the statute: here, Sorsaia. See Mobil Oil, 940 F.2d at 76 (standing exists where official “has

not . . . disclaimed any intention of exercising h[is] enforcement authority”); see also, e.g.,

Planned Parenthood of Idaho, Inc. v. Wasden, 376 F.3d 908, 919-20 (9th Cir. 2004) (attorney

general and county prosecutor are proper defendants when they have authority to enforce the

challenged statute); 303 Creative LLC v. Elenis, 2017 WL 4331065, at *4 (D. Colo. Sept. 1,

2017) (“An injury in fact is fairly traceable to a defendant if the defendant is charged with the

responsibility to enforce the statute.”). Section 7-4-1(a) of the West Virginia Code authorizes

Sorsaia to “attend to the criminal business of the state in the county in which he . . . is elected



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and qualified” and mandates that when Sorsaia “has information of the violation of any penal

law committed within the county, . . . [he] shall institute and prosecute all necessary and proper

proceedings against the offender.” See also State ex rel. Games-Neely v. Sanders, 641 S.E.2d

153, 162 (W. Va. 2006).

       Sorsaia has acknowledged he is charged with enforcing West Virginia’s criminal laws,

which include the abortion Ban. Compl. ¶ 24 (citing W. Va. Code § 7-4-1(a)); see id. ¶ 24 & n.7

(quoting Sorsaia’s view of his “clear obligation” as a “prosecutor[ ]” to exercise his enforcement

powers); see also State ex rel. Preissler v. Dostert, 260 S.E.2d 279, 287 (W. Va. 1979) (“[T]he

prosecuting attorney is elected by the people of the county to represent them in prosecutions

against criminal offenders.”). In fact, he has told the press that he will enforce the State’s

abortion law. See supra p. 7. Therefore, injury caused by the statute is fairly traceable to him.

       C.      A Declaration From This Court That The Ban Is Unconstitutional And
               Cannot Be Enforced Would Redress GenBioPro’s Injury

       “A claim is redressable if a favorable outcome would repeal the ‘burdens’ on purchasing

the plaintiff ’s goods.” Md. Shall Issue, 971 F.3d at 213. In Maryland Shall Issue, the court held

that the vendor’s “asserted injury [wa]s redressable because the injunctive relief sought . . .

would allow it to sell handguns to a broader range of potential customers, thereby increasing its

opportunity to make sales and generate revenue.” Id. at 214; see Nat’l Rifle Ass’n v. Magaw,

132 F.3d 272, 282 (6th Cir. 1997) (holding that a favorable ruling likely to redress an injury

where plaintiff “abandoned a line of business because of passage of the [challenged law and] . . .

would promptly resume the prohibited activities” if “the [law was] declared unconstitutional”).

Similarly, GenBioPro’s injury is likely to be redressed by a favorable judicial decision finding

West Virginia’s Ban unconstitutional on preemption or Commerce Clause grounds and enjoining

its enforcement. Such a determination would permit GenBioPro to sell mifepristone “to a


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broader range of potential customers, thereby increasing its opportunity to make sales and

generate revenue.” Md. Shall Issue, 971 F.3d at 214.

       The remedy sought against Sorsaia will enjoin the Ban’s criminal enforcement and

redress GenBioPro’s injury. See Compl. at 32 (prayer for relief ). The Ban subjects healthcare

providers, including advanced practice registered nurses prescribing mifepristone and

pharmacies dispensing the medication, to criminal prosecution, contrary to FDA’s REMS

governing mifepristone. The Ban makes it a felony for certain providers who do not meet West

Virginia’s definition of “licensed medical professional,” such as physician assistants and

advanced practice registered nurses, to perform abortions. W. Va. Code § 16-2R-2 (defining

“licensed medical professional” as “a person licensed under § 30-3-1 et seq., or § 30-14-1 et seq.,

of this code,” which does not include physician assistants licensed under Chapter 30, Article 3E,

or advanced practice registered nurses licensed under Chapter 30, Article 7). Physician

assistants and advanced practice registered nurses in West Virginia can prescribe drugs and

diagnose patients,3 making them eligible to be certified to prescribe mifepristone under the 2023

REMS. Yet the Ban prevents them from doing so, further constricting the market for

GenBioPro’s product. Similarly, the Ban provides criminal penalties for pharmacists who

“knowingly . . . induce[ ]” an abortion by dispensing mifepristone to a pregnant person not

permitted to obtain an abortion under the Ban. Id. § 61-2-8.




       3
         W. Va. Code §§ 30-3E-1 (physician assistants may “practice medicine” alongside a
collaborating physician), 30-3E-12 (physician assistants may “perform medical acts,” including
“prescribing, dispensing, and administering . . . prescription drugs”), 30-7-1 (advance practice
registered nurses may provide “[d]irect patient care,” including “assessment, treatment,
counseling, procedures, . . . administration of medication, and implementation of a care plan”),
30-7-15b(a) (advanced practice registered nurses may “prescribe drugs”).
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       Because of the Ban, major brick-and-mortar pharmacies (and HoneyBee Health, a mail-

order pharmacy) that otherwise would sell mifepristone to patients in Putnam County will not,

thereby constricting the market for GenBioPro’s product. See supra pp. 5-6 (describing

Walgreens’s decision not to dispense mifepristone in States where it is banned). An order

enjoining Sorsaia from enforcing the Ban would permit providers in Putnam County to prescribe

their patients mifepristone, and would permit pharmacies to provide it pursuant to the REMS,

redressing GenBioPro’s economic injury. Cf. W. Va. Citizens Def. League, Inc. v. City of

Charleston, 2012 WL 4320983, at *9 (S.D.W. Va. Sept. 20, 2012) (where an “injury is the fear

of prosecution and essentially forced compliance with” an unlawful law, if that law is “declared

unlawful the injury will be redressed”).

       D.      GenBioPro Satisfies The Requirements For Third-Party Standing

       GenBioPro’s economic injury is sufficient to support its standing to sue. But, in the

alternative, GenBioPro also satisfies the requirements for third-party standing. In assessing

third-party standing, courts “determine ‘whether the third party has sufficient injury-in-fact to

satisfy the Art[icle] III case-or-controversy requirement’ . . . ‘and whether, as a prudential

matter, the third party can reasonably be expected properly to frame the issues and present them

with the necessary adversarial zeal.’ ” Md. Shall Issue, 971 F.3d at 214-15 (quoting Sec’y of

State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 956 (1984)). Courts consider whether there

is “ ‘a close relation[ship]’ with the person who possesses the right,” and “a ‘hindrance’ to the

possessor’s ability to protect his own interests.” Id. at 215 (quoting Powers v. Ohio, 499 U.S.

400, 411 (1991)).

       As a vendor of mifepristone, GenBioPro has “third-party standing to pursue claims on

behalf of its customers, regardless of whether [its] customers are hindered in bringing their own

claims.” Id. 216 (collecting cases). The Supreme Court “has unequivocally held that ‘a vendor
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with standing to challenge the lawfulness of ’ a regulation — as [the plaintiff] has here — ‘is

entitled to assert those concomitant rights of third parties that would be diluted or adversely

affected should [its] constitutional challenge fail and the [regulations] remain in force.’ ” Id. at

215 (quoting Craig, 429 U.S. at 195). “Otherwise, the threatened imposition of governmental

sanctions might deter a plaintiff and other similarly situated vendors from selling their items to

members of their potential customer base, thereby ensuring that enforcement of the challenged

restriction against the [vendor] would result indirectly in the violation of third parties’ rights.”

Id. (internal quotation marks omitted).

       GenBioPro satisfies this test. Its economic injury meets the injury-in-fact requirement of

Article III. See supra pp. 4-8. And it has a close relationship with parties subject to enforcement

of the Ban, particularly the healthcare providers and pharmacies that provide GenBioPro’s

mifepristone to patients. GenBioPro must certify those providers and pharmacies under the

REMS. GenBioPro also furnishes mifepristone to patients through healthcare providers, who are

subject to penalties for providing mifepristone to patients in violation of the Ban. Compl. ¶¶ 71,

73, 79. This includes criminal penalties on certain healthcare providers eligible to prescribe

mifepristone under the 2023 REMS. See id. ¶ 71 (discussing W. Va. Code §§ 16-2R-7, 61-2-

8(a), 16-2R-2); see supra p. 11 (explaining that certain nurses are eligible to prescribe

mifepristone under the REMS but forbidden from doing so by West Virginia law on pain of

criminal penalties). Under the 2023 REMS, GenBioPro also may, and intends to, provide

mifepristone to patients through pharmacies, which are likewise subject to enforcement under the

Ban in conflict with the REMS. Compl. ¶ 78.

       In similar circumstances, “vendors and those in like positions have been uniformly

permitted to resist efforts at restricting their operations by acting as advocates of the rights of



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third parties who seek access to their market or function.” Md. Shall Issue, 971 F.3d at 216

(quoting Craig, 429 U.S. at 195). “Courts have invariably found that a vendor has a sufficiently

close relationship with its customers when a challenged statute prevents that entity from

transacting business with them.” Id. (citing Craig, 429 U.S. at 192-97; Lepelletier v. FDIC,

164 F.3d 37, 43-44 (D.C. Cir. 1999)); see Lepelletier, 164 F.3d at 44 (holding that a close

relationship can exist “on the basis of the vendor-vendee relationship alone”) (internal quotation

marks omitted).

       E.      Sorsaia’s Standing Arguments Fail

       In arguing that GenBioPro lacks standing, Sorsaia asserts that GenBioPro must

demonstrate it will be harmed by Sorsaia’s actions in Putnam County more than it would be

harmed by enforcement in the rest of the State for GenBioPro to have standing to sue him. No

law supports that argument.

       First, Sorsaia argues (at 3) that GenBioPro cannot sue him because it was not injured in

Putnam County. But GenBioPro alleges that the Ban impermissibly constricts GenBioPro’s

market for mifepristone in West Virginia, including within Putnam County. See supra pp. 5-6;

Compl. ¶¶ 74-79. This economic injury is the “classic and paradigmatic form of injury in fact.”

Md. Shall Issue, 971 F.3d at 210-11 (quoting Air Evac, 910 F.3d at 760). Sorsaia cites no law (at

3) for the proposition that GenBioPro must maintain a “corporate presence” within Putnam

County to have suffered injury there — nor could he.4 “[C]onstriction of [GenBioPro’s] pool of


       4
         Sorsaia alleges (at 3 n.1) that a search on the West Virginia Secretary of State’s Office
website does not reveal that GenBioPro registered to do business as a foreign corporation in
West Virginia. His footnote is irrelevant and the Court should ignore it. First, the Court in
ruling on a motion to dismiss takes the facts as found in the complaint, Wei-ping Zeng v.
Marshall Univ., 370 F. Supp. 3d 682, 686 (S.D.W. Va. 2019) (Chambers, J.), and does not
consider unverified allegations made in the motion. Second, Sorsaia does not explain what
relevance he believes attaches to GenBioPro’s registration status. Because GenBioPro’s
medication is provided to patients through intermediaries, including healthcare providers and
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potential customers” is sufficient. Md. Shall Issue, 971 F.3d at 212. This pool includes

pharmacies in Putnam County. Compl. ¶ 78.

       Second, Sorsaia incorrectly asserts (at 4) that GenBioPro’s injury must be “more

traceable” to him than to any other prosecutor in West Virginia. In fact, an injury is “traceable if

there is a causal connection between the injury and the conduct complained of by the plaintiff.”

Md. Shall Issue, 971 F.3d at 212 (brackets and internal quotation marks omitted). A defendant’s

conduct need not be the “last link in the causal chain,” or the “sole or even immediate cause of

that injury.” Id. (brackets omitted). The fact that the injury “is at least partly caused by [the

defendant’s] actions” suffices. Sierra Club, 899 F.3d at 285.

       Sorsaia does not dispute that he is authorized to prosecute criminal violations of West

Virginia’s Ban, but argues that (at 3) no prosecution is sufficiently “immediate” or “probable.”

But “[i]t is not a leap of the imagination to predict what would occur if ” any healthcare providers

or pharmacies violated the law to prescribe or dispense GenBioPro’s product; Sorsaia has made

clear that in those cases he would enforce the law. W. Va. Citizens Def. League, 2012 WL

4320983, at *9 & n.2; Compl. ¶ 24. Sorsaia’s unsupported statement (at 3) that GenBioPro does

not complain about threatened prosecution in Putnam County contradicts the Complaint, which

alleges that the Ban violates GenBioPro’s rights by, inter alia, subjecting providers otherwise

eligible for certification under the REMS to criminal penalties, Compl. ¶ 96, including in Putnam

County, id. ¶ 78.




pharmacies, GenBioPro is not required to register as a foreign corporation in West Virginia.
This fact does not bear on the standing inquiry, and Sorsaia provides no support for his
suggestion that it does.


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         Finally, Sorsaia incorrectly suggests (at 4-5) that because GenBioPro seeks “statewide”

relief, it cannot sue a state official based in Putnam County. GenBioPro seeks relief against

Sorsaia’s enforcement of the Criminal Abortion Ban. See Compl. at 32 (prayer for relief ).

Plaintiffs seeking statewide prospective relief are permitted to, and routinely do, name state

officers at all levels as defendants. See, e.g., Grabarczyk v. Stein, 32 F.4th 301, 304 (4th Cir.

2022) (granting attorneys’ fees to prevailing plaintiff in Ex parte Young suit against attorney

general and county district attorney, among others); Nat’l Ass’n for Rational Sexual Offense L. v.

Stein, 2019 WL 3429120, at *1 (M.D.N.C. July 30, 2019) (denying motion to dismiss in Ex parte

Young action against state attorney general and district attorneys); Planned Parenthood, 376 F.3d

at 919-20 (holding attorney general and county prosecutor properly named as Ex parte Young

defendants); see Ex parte Young, 209 U.S. 123 (1908). “The removal of even one obstacle to the

exercise of one’s rights, even if other barriers remain, is sufficient to show redressability.”

Sierra Club, 899 F.3d at 285.

II.      GENBIOPRO’S COMPLAINT PLAUSIBLY ALLEGES VIABLE CAUSES OF
         ACTION

         GenBioPro’s Complaint plausibly alleges causes of action under Ex parte Young and 42

U.S.C. § 1983. Compl. ¶¶ 21, 26, 93-101 (Count I), 102-111 (Count II); id. at 32 (prayer for

relief ). Each provides a viable basis for GenBioPro to obtain the prospective relief it seeks.

         A.     GenBioPro alleges causes of action under Ex parte Young and 42 U.S.C.
                § 1983

         Ex parte Young provides a cause of action for plaintiffs “to petition a federal court to

enjoin State officials . . . from engaging in future conduct that would violate the Constitution.”

Antrican v. Odom, 290 F.3d 178, 184 (4th Cir. 2002); see Ex parte Young, 209 U.S. at 159-60. A

plaintiff pleads an Ex parte Young action by alleging “an ongoing violation of federal law” and

seeking “prospective” relief. Franks v. Ross, 313 F.3d 184, 197 (4th Cir. 2002) (quoting Verizon

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Md. Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645 (2002)). GenBioPro plausibly pleads such an

action against Sorsaia by (1) alleging that he is the Prosecuting Attorney charged with enforcing

the unconstitutional Ban in Putnam County and has stated his willingness to enforce this law, and

(2) seeking prospective injunctive and declaratory relief from this Court. Compl. ¶ 24; id. at 32

(prayer for relief ).

        Federal law provides a cause of action under 42 U.S.C. § 1983 to any plaintiff that suffers

“the deprivation of any rights, privileges, or immunities secured by the Constitution and laws [of

the United States]” under color of state law. Id.; accord Wirth v. Surles, 562 F.2d 319, 322 (4th

Cir. 1977) (“Where the violation of state law causes the deprivation of rights protected by the

Constitution and statutes of the United States, a cause of action is stated under 42 U.S.C.

§ 1983.”). GenBioPro’s allegations that the Criminal Abortion Ban violates the Supremacy and

Commerce Clauses of the Constitution state a cause of action under section 1983. See

Compl. ¶¶ 93-101 (Count I), 102-111 (Count II); see, e.g., Dennis v. Higgins, 498 U.S. 439, 446

(1991) (“Petitioner contends that the Commerce Clause confers ‘rights, privileges, or

immunities’ within the meaning of § 1983. We agree.”); Waste Sys. Corp. v. Cnty. of Martin,

985 F.2d 1381, 1389 (8th Cir. 1993) (affirming that plaintiffs could bring a section 1983

challenge for violation of the Commerce Clause). Sorsaia is a proper defendant for this action.

See Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 n.10 (1989) (state officials may be sued

for prospective relief under section 1983).




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       B.      Sorsaia Enforces West Virginia Law In Putnam County And Has
               Threatened To Enforce The Criminal Abortion Ban; GenBioPro Seeks
               Prospective Relief To Enjoin Him From Doing So

       Without addressing these causes of action,5 Sorsaia argues (at 5) that GenBioPro “failed

to allege any viable cause of action” and that he cannot be held “liable for any misconduct

toward” GenBioPro. Under Ex parte Young, however, Sorsaia is the proper defendant because

he is a state official who has “some connection with the enforcement of the act” at issue.

209 U.S. at 157; see McGee v. Cole, 66 F. Supp. 3d 747, 753 n.1 (S.D.W. Va. 2014) (Chambers,

J.) (“Under Ex parte Young, a plaintiff may challenge a state law as unconstitutional by suing a

state official responsible for administering and enforcing that law.”). As the Prosecuting

Attorney for Putnam County, Sorsaia has authority to enforce the Ban in his County. See W. Va.

Code § 7-4-1(a). As courts in this Circuit have noted, Ex parte Young held that a state official

whose “duties . . . included the right and the power to enforce the statutes of the state[ ]

sufficiently connected him with the duty of enforcement to make him a proper party to an action

challenging a state statute’s constitutionality.” Does 1-5 v. Cooper, 40 F. Supp. 3d 657, 673

(M.D.N.C. 2014).

       Additionally, “[t]he requirement that the violation of federal law be ongoing is satisfied

when a state officer’s enforcement of an allegedly unconstitutional state law is threatened, even

if the threat is not yet imminent.” Waste Mgmt. Holdings, Inc. v. Gilmore, 252 F.3d 316, 330

(4th Cir. 2001); see also Summit Med. Assocs., P.C. v. Pryor, 180 F.3d 1326, 1339 (11th Cir.

1999) (holding Ex parte Young action proper when appellants noted their willingness “to

prosecute violators of both statutes” at issue, even though they “ha[d] not yet initiated

prosecution, nor ha[d] they specifically threatened Appellees with prosecution”). Sorsaia has the


       5
         By failing to engage with GenBioPro’s Ex parte Young and section 1983 claims,
Sorsaia has forfeited arguments against them.
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power to enforce the Ban, see supra pp. 9-10, and has threatened to enforce it, see Compl. ¶ 24 &

n.7 (explaining that “[a]s prosecutors we have a clear obligation to enforce the laws of our state”

concerning abortion). Cf. Meredith v. Stein, 355 F. Supp. 3d 355, 363 (E.D.N.C. 2018) (a

“credible threat of prosecution” can exist, and make a pre-enforcement suit appropriate, “even

when the government has not affirmatively stated its intention to prosecute”) (citing

Humanitarian L. Project, 561 U.S. at 15).

       GenBioPro also satisfies the second element of an Ex parte Young action: seeking

prospective relief. An Ex parte Young plaintiff may seek only “prospective relief ” in the form of

an injunction or declaratory judgment. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S.

89, 105 (1984); see Meredith, 355 F. Supp. 3d at 364 (declaratory relief qualifies as prospective

relief ). That is what GenBioPro’s Complaint requests. Compl. at 32 (prayer for relief ).

       C.      Sorsaia’s Remaining Arguments For Dismissal Under Rule 12(b)(6) Fail For
               Largely The Same Reasons That His Rule 12(b)(1) Arguments Fail

       Sorsaia’s Rule 12(b)(6) arguments sound similar themes to his Rule 12(b)(1) argument:

that he is not the proper defendant because the claims do not “specific[ally] reference” him (at

5), that he has “no legal authority or responsibility for defending” West Virginia’s laws against a

constitutional challenge (at 5-6); that he has not “initiated or threatened any prosecutions to

enforce” the Ban; and that the businesses GenBioPro would supply with mifepristone but for the

Ban — Walgreens and CVS — “are not even named parties to this case” and may not suffer a

“greater risk of . . . harm” in Putnam County than elsewhere in the State (at 6). These arguments

do not contest the plausibility of GenBioPro’s claims. Instead, they reargue GenBioPro’s

standing to sue Sorsaia and are unavailing for the reasons discussed supra pp. 4-15.

       Contrary to Sorsaia’s argument (at 5-6), it is irrelevant that West Virginia does not

require Sorsaia to defend the constitutionality of its laws. Sorsaia is a proper defendant because


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GenBioPro’s financial injury is fairly traceable to his conduct in enforcing West Virginia’s

criminal laws in Putnam County and would be redressed by a favorable ruling from this Court.

See supra pp. 8-12. Ex parte Young plaintiffs regularly name defendants other than state

attorneys general when challenging a law’s constitutionality, as GenBioPro does. See supra pp.

15-16 (citing cases).

       Equally lacking in legal support is Sorsaia’s argument (at 6) that GenBioPro’s

“Complaint lacks the facial plausibility required” because GenBioPro did not seek a preliminary

injunction. Sorsaia cites no case for the proposition that a preliminary injunction is a necessary

element of GenBioPro’s claims. “[T]he party who brings a suit is master to decide what law he

will rely upon.” Fair v. Kohler Die & Specialty Co., 228 U.S. 22, 25 (1913) (Holmes, J.).6

       To bring suit, GenBioPro need only plead the two elements of an Ex parte Young claim

and allege enough facts “to state a claim to relief that is plausible on its face.” Twombly, 550

U.S. at 570. It has.

                                         CONCLUSION

       For these reasons, the Court should deny Defendant Sorsaia’s Motion to Dismiss.




       6
          Under Sorsaia’s approach, defendants would get to nullify perfectly valid lawsuits on
the theory that plaintiffs should have ascertained (somehow) an even more suitable defendant to
sue for a declaration that a state law is unconstitutional and therefore unenforceable. He cites no
case for that proposition.
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Dated: March 7, 2023                  Respectfully submitted,
                                     /s/ Anthony J. Majestro
David C. Frederick*                  Anthony J. Majestro
Ariela M. Migdal*                    WV Bar No. 5165
Eliana Margo Pfeffer*                Christina L. Smith
Mary Charlotte Y. Carroll*           W. Va. Bar No. 7509
KELLOGG, HANSEN, TODD,               POWELL & MAJESTRO P.L.L.C.
   FIGEL & FREDERICK, P.L.L.C.       405 Capitol Street
1615 M Street, N.W., Suite 400       Suite P-1200
Washington, D.C. 20036               Charleston, WV 25301
Tel: (202) 326-7900                  Tel: (304) 346-2889
dfrederick@kellogghansen.com         amajestro@powellmajestro.com
amigdal@kellogghansen.com            csmith@powellmajestro.com
epfeffer@kellogghansen.com
mcarroll@kellogghansen.com
Skye L. Perryman*                    John P. Elwood*
Kristen Miller*                      Daphne O’Connor*
DEMOCRACY FORWARD                    Robert J. Katerberg*
   FOUNDATION                        ARNOLD & PORTER KAYE SCHOLER LLP
P.O. Box 34553                       601 Massachusetts Avenue, N.W.
Washington, D.C. 20043               Washington, D.C. 20001
Tel: (202) 448-9090                  john.elwood@arnoldporter.com
sperryman@democracyforward.org       daphne.oconnor@arnoldporter.com
kmiller@democracyforward.org         robert.katerberg@arnoldporter.com

                             * admitted pro hac vice
                       Counsel for Plaintiff GenBioPro, Inc.




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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  HUNTINGTON DIVISION


 GENBIOPRO, INC.,
                       Plaintiff,

                 v.
                                                             Civil Action No.: 3:23-cv-00058
 MARK A. SORSAIA, in his official capacity                      (Hon. Robert C. Chambers)
 as Prosecuting Attorney of Putnam County
 AND PATRICK MORRISEY, in his official
 capacity as Attorney General of West Virginia,
                       Defendants.



                                CERTIFICATE OF SERVICE

       I, the undersigned, counsel for Plaintiff, GenBioPro, Inc., do hereby certify that on

March 7, 2023, I electronically filed and served the foregoing PLAINTIFF’S OPPOSITION

TO DEFENDANT MARK A. SORSAIA’S MOTION TO DISMISS with the Clerk of the

Court and all parties using the CM/ECF system.

                                                Respectfully submitted,
                                                /s/ Anthony J. Majestro
                                                Anthony J. Majestro
                                                WV Bar No. 5165
                                                Christina L. Smith
                                                W. Va. Bar No. 7509
                                                POWELL & MAJESTRO P.L.L.C.
                                                405 Capitol Street
                                                Suite P-1200
                                                Charleston, WV 25301
                                                Tel: (304) 346-2889
                                                amajestro@powellmajestro.com
                                                csmith@powellmajestro.com

                                                Counsel for Plaintiff GenBioPro, Inc.



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